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                                    UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                            Case No. 20-cv-954



               FARHAD AZIMA,

                        Plaintiff,
                                                                 DECLARATION OF DOMINIC
                        v.                                         HOLDEN IN SUPPORT OF
                                                                 PLAINTIFF’S OPPOSITION TO
               NICHOLAS DEL ROSSO and VITAL                     DEFENDANTS’ SECOND MOTION
               MANAGEMENT SERVICES, INC.,                               TO DISMISS

                        Defendants.



                      I, Dominic Holden, pursuant to 28 U.S.C. § 1746, do hereby declare under penalty

             of perjury the following.

                      1.      I am a partner in Burlingtons Legal LLP, an English law firm that represents

             Farhad Azima in pending litigation in London. That case is Farhad Azima -v- Ras Al

             Khaimah Investment Authority (“RAKIA”), Stuart Page, Neil Gerrard, Dechert LLP and

             James Buchanan – HC-2016-002798 (Business and Property Courts of England and

             Wales) (the “English Proceedings”).

                      2.      Mr. Azima’s counterclaim in the English Proceedings alleges, inter alia, that

             the defendants to the counterclaim (the “English Defendants”) successfully hacked Mr.

             Azima and obtained his trade secrets and then published those secrets on the internet

             several times, including in 2018 and 2019. In the English Proceedings, Mr. Azima is

             alleging, in part, that the English Defendants directed and paid Mr. Del Rosso to hack his

             emails and computers to obtain confidential information, and that Mr. Del Rosso followed

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             these instructions by paying hackers in in India to do so. Mr. Azima’s counterclaim brings

             claims against the English Defendants under US federal law and under Missouri state law,

             including claims regarding the misappropriation of Mr. Azima’s trade secrets.

                      3.    I have reviewed the pending Motion to Dismiss the Defendants have filed

             with this Court, including the English court document that they have filed in support of that

             motion. The English court document is a response to a series of inquiries from RAKIA

             (one of the English Defendants) concerning Mr. Azima’s Counterclaim, known as a

             “Request for Further Information,” or “RFI.” Defendants’ motion contends that Mr.

             Azima’s response to RAKIA’s RFI “show that Azima owns none of the putative trade

             secrets,” that the response “expressly described” several of the trade secrets as belonging

             to businesses, and that Mr. Azima does not allege any ownership interest in any of those

             businesses (Def.s’ Mem of Law In Supp. of Mot to Dismiss at 2, 4 (Dec. 23, 2021) ECF

             No. 68). Defendants’ motion, in my view, misconstrues that document and disregards other

             pleadings filed by Mr Azima.

                      4.    As a starting point, Mr. Azima’s claims in the English Proceedings are still

             in the pleading stage. Disclosure will commence later in 2022. The factual disputes related

             to the misappropriation of trade secrets and other issues will be developed further at and

             leading up to trial, which has not yet been scheduled. The counterclaim advances a claim

             by Mr. Azima in respect of his trade secrets, which were misappropriated. This clearly

             encompasses an allegation that Mr. Azima holds a relevant ownership interest in those

             trade secrets. Specifically, paragraphs 148-150 of the counterclaim (both in its original

             form and in each version as amended) state as follows (emphasis added):


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                      “148. Mr Azima’s email accounts and computer systems stored trade secrets

                      intended for use in interstate and foreign commerce, including but not limited

                      to highly confidential business plans and proposals, research supporting

                      those plans and proposals (including costs and service projections),

                      information concerning business strategies and opportunities, and contacts

                      for important business relationships.

                      149. The Defendants unlawfully conspired:

                      a.     to take, appropriate, and obtain Azima’s trade secrets without

                      authorization, by means of a cyberattack against him, knowing that Azima’s

                      email accounts contained trade secrets and intending to steal them in order to

                      harm Azima.

                      b.     to disseminate those trade secrets and to continue to do so including

                      as recently as June 2019.

                      150. As a result of the conspiracy and hacking Mr Azima has suffered

                      damage, which includes, but is not limited to, loss of business goodwill, loss

                      in the value of his trade secrets and confidential business information, and

                      harm to Mr Azima’s business.”

                      5.     RAKIA served its RFI on September 2, 2021. The RFI seeks specific

             information about Mr. Azima’s counterclaim. However, RAKIA’s RFI did not seek

             information as to the question of ownership of the trade secrets or Mr. Azima’s interest(s)

             in them. The response to the RFI therefore did not address that particular issue. Rather,




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             the RFI sought particulars of the trade secrets themselves and an explanation of Mr.

             Azima’s allegation that the trade secrets were used in foreign and/or interstate commerce.

                      6.    Mr. Azima’s response to the RFI made clear that the information as to the

             misappropriated trade secrets set out in the Response was not exhaustive, given the

             enormous scale of the information stolen by the English Defendants and the fact that the

             review of the stolen material was not yet complete (and in fact disclosure had not even

             started). The RFI then indicated that the particulars sought about the trade secrets were set

             out in Table 2, annexed to the response. It also explained that the intended use of the trade

             secrets in foreign and/or interstate commerce was evident from the location of the business

             activities in question in jurisdictions outside the United States and/or Missouri. See ECF

             No. 69-1 at 14.

                      7.    Contrary to Defendants’ Motion to Dismiss, neither the body of the response,

             nor Table 2, states that the trade secrets “belonged” to the enterprises referred to in Table

             2, as is clear from the text of the document. Nor do the response or Table 2 state or

             otherwise imply that Mr. Azima does not have ownership (in the relevant sense) of the

             trade secrets. Several business names are referred to in Table 2, but these were included

             as a means of organizing the information provided in the table. They were not referred to

             so as to designate ownership, since ownership was not raised in the RFI.

                      8.    Following the RFI, Mr. Azima served his Reply pleading to RAKIA’s

             Defence. The Reply states (¶ 41) that “RAKIA’s argument that Mr Azima has no claim

             because the trade secrets were owned by companies is wrong.” The Reply also states that

             Mr. Azima was the owner of the relevant companies, which created a relevant ownership


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             right in the trade secrets. The Reply did not say, and should not be interpreted to mean,

             that Mr. Azima had no personal ownership interest in the trade secrets.

                      9.     Mr. Azima’s position is that he has an ownership interest in the trade secrets

             and the particulars of that ownership—including whether he (i) is the exclusive owner of a

             trade secret; (ii) owns a company that holds the trade secret; and/or (iii) is privy to a trade

             secret—will be developed further at trial and in the evidence filed in advance of trial.

                      10.    Attached as Exhibit A is a true and correct copy of Mr. Azima’s Re-amended

             Counterclaim Against Additional Parties in the English Proceedings

                      11.    Attached as Exhibit B is a true and correct copy of the Mr. Azima’s Reply to

             RAKIA’s Defence to the Re-amended Counterclaim in the English Proceedings.

                      I, Dominic Holden, under penalty of perjury that the foregoing is true and correct.

                      Executed on January 7th, 2022, in London.




                                                         Dominic Holden




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                                           DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                          CASE NO. 20-CV-954


             FARHAD AZIMA,

                      Plaintiff,

                      v.                                        CERTIFICATE OF SERVICE

             NICHOLAS DEL ROSSO and VITAL
             MANAGEMENT SERVICES, INC.,

                      Defendants.




                    I hereby certify that I electronically filed the foregoing with the Clerk of Court using
             the CM/ECF system, which will send electronic notification of this Notice to the following
             attorneys:
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                      This, the 7th day of January, 2022.

                                                            WOMBLE BOND DICKINSON (US) LLP

                                                            /s/ Ripley Rand
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                                                            North Carolina State Bar No. 22275
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